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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE COMMISSION,

                                           Plaintiff,
                                                                       23 Civ. 4738 (KPF)
                         v.
COINBASE, INC. AND COINBASE GLOBAL, INC.,                     ORAL ARGUMENT REQUESTED

                                       Defendants.




     NOTICE OF COINBASE’S MOTION FOR JUDGMENT ON THE PLEADINGS

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Coinbase’s Motion for Judgment on the Pleadings dated August 4, 2023, the Declaration of

David P.T. Webb dated August 4, 2023, the exhibits thereto, and such other and further papers and

proceedings as may be filed or had, Defendants Coinbase, Inc. and Coinbase Global, Inc. (together,

“Coinbase”), by and through undersigned counsel, hereby move this Court before the Honorable

Katherine Polk Failla, United States District Judge, at the Thurgood Marshall United States

Courthouse, 40 Foley Square, New York, New York 10007, for judgment on the pleadings in favor

of Defendants pursuant to Federal Rule of Civil Procedure 12(c).
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Dated: August 4, 2023              Respectfully submitted,
New York, New York

                                   WACHTELL, LIPTON, ROSEN & KATZ

                                   /s/ William Savitt
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